

WDF Inc. v Vamco Sheet Metals, Inc. (2021 NY Slip Op 06975)





WDF Inc. v Vamco Sheet Metals, Inc.


2021 NY Slip Op 06975


Decided on December 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2021

Before: Kern, J.P., Kennedy, Scarpulla, Mendez, Shulman, JJ. 


Index No. 651314/11 Appeal No. 14833 Case No. 2020-05027 

[*1]WDF Inc., Plaintiff-Respondent,
vVamco Sheet Metals, Inc., Defendant-Appellant.
Vamco Sheet Metals, Inc, Third-Party Plaintiff-Appellant,
vFidelity and Deposit Company Maryland, Third-Party Defendant-Respondent.


Terrence O'Connor, P.C., Bronx (Terrence J. O'Connor of counsel), for appellant.
Kaufman Dolowich &amp; Voluck, LLP, Woodbury (Andrew L. Richards of counsel), for respondent.



Order, Supreme Court, New York County (Andrew Borrok, J.), entered November 19, 2020, which granted plaintiff's motion for partial summary judgment on its breach of contract claim, unanimously affirmed, with costs.
Plaintiff established entitlement to summary judgment on its breach of contract claim (see  CPLR 3212[b]; Zuckerman v City of New York , 49 NY2d 557, 562 [1980]). Plaintiff demonstrated, and defendant failed to refute, that defendant breached the subcontract by, among other things, failing to provide sufficient workers on the project as requested.
We have considered defendant's remaining arguments and find them unavailing. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 14, 2021








